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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:
                                                              Case No. 20-12522-JTD
MALLINCKRODT PLC, et al.,
                                                              Chapter 11
               Reorganized Debtors.1                          Jointly Administered
______________________

Heather L. Barlow as Trustee of the
MALLINCKRODT GENERAL UNSECURED
CLAIMS TRUST,
                                                              Adv. Proc. No. 22-50431-JTD
                    Plaintiff,
v.

TOD B. LINSTROTH,

                    Defendant.


                         ANSWER AND AFFIRMATIVE DEFENSES


         Tod B. Linstroth (“Linstroth”), through his undersigned counsel, hereby answers

the complaint filed on October 4, 2022 (the “Complaint”) by the Mallinckrodt

Unsecured Claims Trust, through its Trustee Heather L. Barlow (“Plaintiff”), as

successor in interest to Mallinckrodt PLC (the “Debtor”), as follows:

         1.     Answering paragraph 1, Linstroth admits that the allegations of the

Complaint arise under sections 547 to 550 of the Bankruptcy Code but denies that any

of the alleged transfers are avoidable or recoverable.


1 A complete list of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
claims and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing
address is 675 McDonnell Blvd., Hazelwood, Missouri 63042.
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       2.     Answering paragraph 2, Linstroth admits that there is a claim asserted in

the Complaint which allegedly arises under section 502(d) of the Bankruptcy Code.

Linstroth denies all remaining allegations of paragraph 2.

       3.     Answering paragraph 3, Linstroth admits.

       4.     Answering paragraph 4, Linstroth admits to the principal place of

business of the Debtor and lacks knowledge or information sufficient to form a belief

about the truth of the remaining allegations of paragraph 4, and therefore denies same.

       5.     Answering paragraph 5, Linstroth admits that he is an individual and

admits that he was (and remains) entitled to receive money pursuant to that certain

Agreement and Plan of Merger dated August 10, 2016 (the “Merger Agreement”) by

and among (without limitation) Mallinckrodt Hospital Products Inc. and Stratatech

Corporation. Linstroth denies knowledge of the terms “MNK” and “Stratatech” in this

context because neither is defined in the Complaint, and Linstroth further denies

because the allegation does not accurately articulate the parties to and obligations

arising out of the Merger Agreement.

       6.     Answering paragraph 6, Linstroth admits.

       7.     Answering paragraph 7, Linstroth admits.

       8.     Answering paragraph 8, Linstroth admits. By way of further response,

Linstroth confirms his consent, pursuant to Bankruptcy Rule 7008 and Rule 7008-1 of

the Bankruptcy Local Rules for the United States Bankruptcy Court for the District of

Delaware, to the entry of a final order by the Court in connection with this Adversary

Proceeding to the extent that it is later determined that the Court, absent consent of the

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parties, cannot enter final orders or judgments in connection herewith consistent with

Article III of the United States Constitution.

       9.     Answering paragraph 9, Linstroth admits.

       10.    Answering paragraph 10, Linstroth admits that the rules and statutes

referenced therein related to the relief requested in the Complaint, but Linstroth denies

any liability to the Plaintiff as alleged in the Complaint.

       11.    Answering paragraph 11, noting that the term “Debtors” is not defined in

the Complaint, Linstroth admits.

       12.    Answering paragraph 12, Linstroth admits.

       13.    Answering paragraph 13, Linstroth admits upon information and belief.

       14.    Answering paragraph 14, Linstroth admits upon information and belief.

       15.    Answering paragraph 15, Linstroth denies because he has no liability for

the alleged transfer pursuant to the defenses available to Linstroth under § 547.

       16.    Answering paragraph 16, Linstroth admits upon information and belief.

       17.    Answering paragraph 17, Linstroth denies because the “Debtor” is

defined in the Complaint as Mallinckrodt PLC but the alleged payor shown on Exhibit

A is “INO Therapeutics LLC” (hereinafter “INO”). Linstroth further denies issuing any

invoices to INO, the Debtor, or anyone else, and denies receiving any money from INO.

       18.    Answering paragraph 18, Linstroth denies.

       19.    Answering paragraph 19, Linstroth denies receiving $55,283.31 from the

Debtor or INO during the “Preference Period” as defined in paragraph 16.

       20.    Answering paragraph 20, Linstroth lacks knowledge or information

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sufficient to form a belief about the truth of the allegations contained therein, and

therefore denies same.

       21.    Answering paragraph 21, Linstroth admits that the nature of this action is

a preference recovery action but denies any liability to the Plaintiff. Further answering

paragraph 21, Linstroth lacks knowledge or information sufficient to form a belief about

the truth of the “Trustee’s due diligence” and therefore denies same. Further answering

paragraph 21, Linstroth admits the existence of the September 14, 2022 letter,

affirmatively asserts that the letter speaks for itself, and denies any allegations that are

inconsistent with the letter.

       22.    Answering paragraph 22, Linstroth denies that the Trustee evaluated the

“reasonably knowable affirmative defenses” prior to filing this action. Further

answering paragraph 22, Linstroth denies that the “Transfers” are not excepted from

avoidance and lacks knowledge or information sufficient to form a belief about the

truth of the remaining allegations contained therein, and therefore denies same.

       23.    Answering paragraph 23, Linstroth affirmatively asserts that Plaintiff has

failed to comply with FRCP 8. Further answering paragraph 23, there are no allegations

of fact contained therein that compel a responsive pleading from Linstroth, but to the

extent that such a response is required, Linstroth denies.

       24.    Answering paragraph 24, Linstroth incorporates his prior responses to

paragraphs 1-24.

       25.    Answering paragraph 25, Linstroth denies receiving any payments from

Mallinckrodt PLC (the “Debtor” herein) or INO during the Preference Period.

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       26.      Answering paragraph 26, Linstroth denies receiving any payments from

Mallinckrodt PLC (the “Debtor” herein) or INO during the Preference Period.

       27.      Answering paragraph 27, Linstroth denies that he was a creditor of

Mallinckrodt PLC (the “Debtor” herein) or INO during the Preference Period.

       28.      Answering paragraph 28, Linstroth denies that he was a creditor of

Mallinckrodt PLC (the “Debtor” herein) or INO during the Preference Period.

       29.      Answering paragraph 29, Linstroth denies that he was a creditor of

Mallinckrodt PLC (the “Debtor” herein) or INO during the Preference Period and lacks

knowledge or information sufficient to form a belief about the truth of the allegations

relating to “underlying transaction documents” and therefore denies same.

       30.      Answering paragraph 30, Linstroth lacks knowledge or information

sufficient to form a belief about the truth of the allegations contained therein, and

therefore denies same.

       31.      Answering paragraph 31, Linstroth denies.

       32.      Answering paragraph 32, Linstroth denies.

       33.      Answering paragraph 33, Linstroth admits, but denies that he is obligated

to Plaintiff.

       34.      Answering paragraph 34, Linstroth denies.

       35.      Answering paragraph 35, Linstroth incorporates his prior responses to

paragraphs 1-35.

       36.      Answering paragraph 36, Linstroth denies.

       37.      Answering paragraph 37, Linstroth denies.

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       38.      Answering paragraph 38, Linstroth denies.

       39.      Answering paragraph 39, Linstroth incorporates his prior responses to

paragraphs 1-39.

       40.      Answering paragraph 40, Linstroth denies.

       41.      Answering paragraph 41, Linstroth admits that it has not paid the

equivalent of the amounts referenced in the Complaint but denies liability to pay said

amounts.

       42.      Answering paragraph 42, Linstroth asserts that this is a legal conclusion to

which no responsive pleading is required. To the extent a pleading is required,

Linstroth denies.

       43.      Answering paragraph 43, Linstroth asserts that this is a legal conclusion to

which no responsive pleading is required. To the extent a pleading is required,

Linstroth denies.

       44.      Answering paragraph 44, Linstroth asserts there are no allegations of fact

contained therein that compel a responsive pleading from Linstroth, but to the extent

that such a response is required, Linstroth denies.

                                   Affirmative Defenses

       As and for his affirmative defenses to the Complaint, and without assuming any

burden of proof where the law does not impose the burden upon it, Tod B. Linstroth

asserts that:

       1.       The Complaint fails to state a claim upon which relief can be granted

against Linstroth.

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        2.      The Plaintiff failed to perform pre-litigation, reasonable due diligence

regarding the circumstances of the case, and failed to take into account Linstroth’s

known or reasonably knowable affirmative defenses as required by § 547(b).

        3.      Linstroth has never received any money from INO Therapeutics LLC as

depicted on Exhibit A to the Complaint.

        4.      Any transfer made to Linstroth by any debtor during the Preference

Period whose case is jointly administered in In re Mallinckrodt plc, et al., 20-12522-jtd is

not avoidable under 11 U.S.C. § 547(c)(2) because the transfer(s) was made in the

ordinary course business between Linstroth and the payor, or made according to

ordinary business terms.

        5.      Any transfer made to Linstroth by any debtor during the Preference

Period whose case is jointly administered in In re Mallinckrodt plc, et al., 20-12522-jtd is

not avoidable under 11 U.S.C. § 547(c)(1) because the transfer(s) was intended by the

payor to reflect a contemporaneous exchange for new value given, and the transfer(s)

was, in fact, substantially contemporaneous exchanges.

        6.      Any transfer made to Linstroth by any debtor during the Preference

Period whose case is jointly administered in In re Mallinckrodt plc, et al., 20-12522-jtd is

not avoidable under 11 U.S.C. § 547(c)(4) because Linstroth subsequently conferred new

value to the Plaintiff after receipt of the transfer(s).

        7.      The Plaintiff’s Second Claim for Relief relating to 11 U.S.C. § 550 only

contains hypotheticals and lacks any actual or specific allegations of fact that could give

rise to liability.

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       8.     In the event that Defendant has any liability to Plaintiff, which is denied,

Linstroth is entitled to an offset against Plaintiff’s claim in the full amount of all

outstanding obligations owed to Linstroth, including, but not limited to, payment of

administrative costs and expenses.

       9.     The Complaint is barred, in whole or in part, by one or more of the

following doctrines: laches, unclean hands, and/or waiver.

       10.    The Complaint is barred, in whole or in part, because Plaintiff is equitably

estopped from seeking the relief it seeks against Linstroth in this action.

       11.    Linstroth reserves the right amend these defenses, including adding

defenses, as discovery continues or otherwise as such defenses become known.

       WHEREFORE, Tod B. Linstroth respectfully requests the following relief:

       A.     Dismissal of the Complaint;

       B.     An award of his reasonable and necessary attorneys’ fees and expenses;

and

       C.     Such other and further relief as this Court may deem just and proper.




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DATED this 2nd day of November, 2022.

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